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2    Attorney at Law
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4
     Attorney for defendant Heath Roberson
5

6
                  IN THE UNITED STATES DISTRICT COURT IN AND FOR
7
                          THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,            )           Case No. 1:13-cr-00342 AWI/BAM
10
                                          )
                                          )           STIPULATION TO CONTINUE
11
                        Plaintiff,        )           SENTENCING, AND ORDER
                                          )           THEREON
12
     v.                                   )
                                          )           New Date: July 21, 2014
13
     HEATH ROBERSON,                      )           Time: 10 a.m.
                                          )           Crtrm: Hon. Anthony W. Ishii
14
                        Defendants.       )
     ___________________________________ )
15

16          IT IS HEREBY STIPULATED by and between the parties hereto, and through

17   their respective attorneys of record herein, that Sentencing in the above captioned

18   matter, scheduled for July 7, 2014 at 10:00 a.m., be continued to July 21, 2014, 10:00 a.m.

19   It is further stipulated that the presentence schedule is to be modified as follows:

20   Informal Objections Due to Probation and Opposing Counsel, June 23, 2014; Objections

21   Filed with Court and Served on Probation and Opposing Counsel July 7, 2014.

22           Counsel for defendant Heath Roberson desires additional time to consult with
     Stipulation to Continue Sentencing, and Order Thereon;
23   U. S. v. Heath Roberson, Case No. 1:13-cr-00342 AWI/BAM                              1
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1    her client, to review and respond to the sentencing recommendation, and for case
2
     preparation.
3
            So stipulated.
4

5    Dated: June 5, 2014                         /s/ Carolyn D. Phillips
                                               CAROLYN D. PHILLIPS
6                                              Attorney for Heath Roberson

7

8    Dated: June 5, 2014                        BENJAMIN B. WAGNER
                                                United States Attorney
9

10                                       By:    /s/Michael G. Tierney
                                                MICHAEL G. TIERNEY
11                                              Attorneys for the United States.

12

13                                             ORDER

14           IT IS HEREBY ORDERED that Sentencing in the above-captioned matter now

15   set for July 7, 2014 shall be rescheduled for July 21, 2014 at 10 a.m., and the presentence

16   schedule is to be modified as follows: Informal Objections Due to Probation and

17   Opposing Counsel, June 23, 2014; Objections Filed with Court and Served on Probation

18   and Opposing Counsel July 7, 2014.

19

20   IT IS SO ORDERED.

     Dated: June 5, 2014
21
                                               SENIOR DISTRICT JUDGE
22
     Stipulation to Continue Sentencing, and Order Thereon;
23   U. S. v. Heath Roberson, Case No. 1:13-cr-00342 AWI/BAM                                       2
      Case 1:13-cr-00342-LJO-BAM Document 33 Filed 06/06/14 Page 3 of 3


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     Stipulation to Continue Sentencing, and Order Thereon;
23   U. S. v. Heath Roberson, Case No. 1:13-cr-00342 AWI/BAM              3
